            Case 3:22-cv-01118-JBA Document 21 Filed 09/30/22 Page 1 of 3




                              UNITED STATES DISTRICT COURT

                                  DISTRICT OF CONNECTICUT

NATIONAL ASSOCIATION FOR                       :       CIVIL NO. 3:22-CV-01118 (JBA)
GUN RIGHTS et al.,                             :
     Plaintiffs,                               :
                                               :
      v.                                       :
                                               :
LAMONT, et al.,                                :
    Defendants.                                :       SEPTEMBER 30, 2022

               DEFENDANTS’ MOTION FOR A PRE-FILING CONFERENCE

       Pursuant to the Court’s chamber practices, the Defendants respectfully request a pre-

filing conference to consider the Defendants’ right to move the Court to dismiss the Plaintiff’s

action on the following grounds:

       1.    The Plaintiffs, National Association for Gun Rights (“NAGR”) and Toni Theresa

             Spera Flanigan, bring this suit pursuant to 42 U.S.C. § 1983 against the Defendants,

             Governor Ned Lamont, Chief State’s Attorney Patrick Griffin, and State’s Attorney

             Sharmese Walcott, seeking declaratory and injunctive relief.

       2. The Defendants intend to move for dismissal because Plaintiff NAGR lacks standing.

       3. Specifically, NAGR lacks associational standing to bring the instant action and

             therefore this Court lacks subject matter jurisdiction over their claims. See Christa

             McAuliffe Intermediate Sch. PTO, Inc. v. de Blasio, 788 F. App’x 85, 86 (2d Cir.

             2019).

       4. On September 29, 2022, undersigned contacted the Plaintiffs’ counsel and provided

             this motion and discussed the grounds for a dismissal.

       5. The Plaintiffs’ counsel contests the grounds for a dismissal and agrees a pre-filing

             conference is necessary.

                                                   1
  Case 3:22-cv-01118-JBA Document 21 Filed 09/30/22 Page 2 of 3




6. Defendants request a pre-filing conference to discuss the basis of a motion to dismiss

   based on lack of standing.

                                     DEFENDANTS
                                     Lamont et al.

                                     WILLIAM TONG
                                     ATTORNEY GENERAL




                                 BY:
                                      ________________
                                     James M. Belforti
                                     Assistant Attorney General
                                     110 Sherman Street
                                     Hartford, CT 06105
                                     Tel: (860) 808-5450
                                     Fax: (860) 808-5591
                                     Federal Bar No. ct30449
                                     E-Mail: james.belforti@ct.gov


                                 By: Janelle R. Medeiros
                                    Janelle R. Medeiros
                                    Assistant Attorney General
                                    Federal Bar No. ct30514
                                    110 Sherman Street
                                    Hartford, CT 06105
                                    Telephone: (860) 808-5450
                                    Fax No.: (860) 808-5591
                                    E-Mail: Janelle.medeiros@ct.gov




                                        2
          Case 3:22-cv-01118-JBA Document 21 Filed 09/30/22 Page 3 of 3




                                        CERTIFICATION

       I hereby certify that on September 30, 2022, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the Court's

electronic filing system. Parties may access this filing through the Court's system.




                                               Janelle R. Medeiros
                                               Janelle R. Medeiros
                                               Assistant Attorney General




                                                  3
